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coNsTANTINE coRDoGAN, \N 0 HH=H.MEMMMS
Plaintiff,

v. Cv. No. 03-2755-Ma

KAWAI AMERICA coRPoRATION, et al.,

Defendants.

J'UDGME NT
Decision, byl Court. This action_ came for consideration
before the Court, The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
with prejudice in accordance with the Order of Dismissal,
docketed May 27, 2005. Each party shall bear its own costs and
attorney’s fees.

APPROVE:D=<44\//41 Z

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy cf the document docketed as number 82 in
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Honorable Samuel Mays
US DISTRICT COURT

